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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION



  CORYDORAS TECHNOLOGIES, LLC                        §
                                                     §
         v.                                          §          Case No. 2:19-CV-00304-JRG-RSP
                                                     §
  BEST BUY CO., INC. and                             §
  BEST BUY STORES, L.P.                              §

                                       PROTECTIVE ORDER

         WHEREAS, Plaintiff Corydoras Technologies, LLC and Defendants Best Buy Co., Inc. and

  Best Buy Stores, L.P., hereafter referred to as “the Parties,” believe that certain information that is

  or will be encompassed by discovery demands by the Parties involves the production or disclosure

  of trade secrets, confidential business information, or other proprietary information;

         WHEREAS the Parties reasonably believe that public disclosure of such confidential

  information would cause financial and competitive harm to the producing party;

         WHEREAS, the Parties believe that good cause exists for the entry of this Protective

  Order, which is narrowly tailored to protect the aforementioned confidential information of the

  parties; and
         WHEREAS, the Parties seek a protective order limiting disclosure thereof in accordance with

  Federal Rule of Civil Procedure 26(c):

         THEREFORE, it is hereby stipulated among the Parties and ORDERED that:

  1.     Each Party may designate as confidential for protection under this Order, in whole or in part,

         any document, information or material that constitutes or includes, in whole or in part,

         confidential or proprietary information or trade secrets of the Party or a non-party to whom

         the Party reasonably believes it owes an obligation of confidentiality with respect to such



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        document, information or material (“Protected Material”). Protected Material shall be

        designated by the Party producing it by affixing a legend or stamp on such document,

        information or material as follows: “CONFIDENTIAL.” The word “CONFIDENTIAL”

        shall be placed clearly on each page of the Protected Material (except deposition and hearing

        transcripts) for which such protection is sought. For deposition and hearing transcripts, the

        word “CONFIDENTIAL” shall be placed on the cover page of the transcript (if not already

        present on the cover page of the transcript when received from the court reporter) by each

        attorney receiving a copy of the transcript after that attorney receives notice of the

        designation of some or all of that transcript as “CONFIDENTIAL.” For natively produced

        Protected Material, the word “CONFIDENTIAL” shall be placed in the filename of each

        such natively produced document.

  2.    Any document produced under Patent Rules 2-2, 3-2, and/or 3-4 before issuance of this

        Order with the designation “Confidential” shall receive the same treatment as if designated

        “CONFIDENTIAL” under this Order or if designated as “Confidential – Attorneys’ Eyes

        Only” shall receive the same treatment as if designated “CONFIDENTIAL – OUTSIDE

        ATTORNEYS’ EYES ONLY” under this Order, unless and until such document is re-

        designated to have a different classification under this Order.

  3.    With respect to documents, information or material designated “CONFIDENTIAL,”

        “CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY” (or “CONFIDENTIAL –

        ATTORNEYS EYES ONLY”), or “HIGHLY CONFIDENTIAL SOURCE CODE –

        OUTSIDE ATTORNEYS’ EYES ONLY” (“DESIGNATED MATERIAL”),1 subject to



        1
           The term DESIGNATED MATERIAL is used throughout this Protective Order to refer
  to the class of materials designated as “CONFIDENTIAL,” “CONFIDENTIAL – OUTSIDE
  ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL SOURCE CODE – OUTSIDE


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        the provisions herein and unless otherwise stated, this Order governs, without limitation:

        (a) all documents, electronically stored information, and/or things as defined by the Federal

        Rules of Civil Procedure; (b) all pretrial, hearing or deposition testimony, or documents

        marked as exhibits or for identification in depositions and hearings; (c) pretrial pleadings,

        exhibits to pleadings and other court filings; (d) affidavits; and (e) stipulations. All copies,

        reproductions, extracts, digests and complete or partial summaries prepared from any

        DESIGNATED MATERIALS shall also be considered DESIGNATED MATERIAL and

        treated as such under this Order.

  4.    A designation of Protected Material (i.e., “CONFIDENTIAL,” “CONFIDENTIAL –

        OUTSIDE ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL SOURCE

        CODE – OUTSIDE ATTORNEYS’ EYES ONLY”) may be made at any time. The

        production of documents, information or material that has not been designated as

        DESIGNATED MATERIAL shall not be deemed a waiver in whole or in part of a claim for

        confidential treatment. Any party that produces Protected Material without designating it

        as DESIGNATED MATERIAL may request destruction of that Protected Material by

        notifying the recipient(s), as soon as reasonably possible after the producing Party becomes

        aware of the inadvertent or unintentional disclosure, and providing replacement Protected

        Material that is properly designated. The recipient(s) shall then destroy all copies of the

        inadvertently or unintentionally produced Protected Materials and any documents,

        information or material derived from or based thereon.

  5.    “CONFIDENTIAL” documents, information and material may be disclosed only to the

        following persons, except upon receipt of the prior written consent of the designating party,



  ATTORNEYS’ EYES ONLY,” both individually and collectively.


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         upon order of the Court:

         (a)    outside counsel of record in this Action2 for the Parties;

         (b)    employees of such counsel assigned to and reasonably necessary to assist such
                counsel in the litigation of this Action;

         (c)    in-house counsel — as well as their immediate paralegals and staff — for the Parties
                who are active members in good standing of at least one state bar and: (1) have
                responsibility for making decisions dealing directly with the litigation of this
                Action, or (2) are assisting outside counsel in the litigation of this Action;

         (d)    one (1) designated employee of each of the Parties to the extent reasonably
                necessary for the litigation of this Action, provided that before access is given, the
                employee has completed the Acknowledgement and Agreement to be Bound
                attached as Appendix A hereto and the same is served upon the producing Party.
                At least ten (10) days before access to the Protected Material is to be given to the
                designated employee, the producing Party may object to such disclosure for good
                cause and must notify the receiving Party in writing that it objects to disclosure of
                Protected Material to the designated employee for good cause. The Parties agree
                to promptly confer and use good faith to resolve any such objection. If the Parties
                are unable to resolve any objection, the objecting Party may file a motion with the
                Court within ten (10) days of the notice, or within such other time as the Parties may
                agree, seeking a protective order with respect to the proposed disclosure. The
                objecting Party shall have the burden of proving the need for a protective order. No
                disclosure shall occur until all such objections are resolved by agreement or Court
                order;

         (e)    outside consultants or experts (i.e., not existing employees or affiliates of a Party or
                an affiliate of a Party) retained for the purpose of this litigation, provided that: (1)
                such consultants or experts are not presently employed by the Parties hereto for
                purposes other than this Action3; (2) before access is given, the consultant or expert
                has completed the Acknowledgement and Agreement to be Bound attached as
                Appendix A hereto and the same is served upon the producing Party together with:
                (i) a current curriculum vitae of the consultant or expert, and (ii) a list of the cases
                in which the consultant or expert has testified at deposition or trial within the last
                five (5) years, at least ten (10) days before access to the Protected Material is to be
                given to that consultant or expert, to object to for good cause and notify the
                receiving Party in writing that it objects to disclosure of Protected Material to the
                consultant or expert for good cause. The Parties agree to promptly confer and use
                good faith to resolve any such objection. If the Parties are unable to resolve any
                objection, the objecting Party may file a motion with the Court within ten (10) days


  2
   This “Action” means Case No. 2:19-cv-00304-JRG.
  3
   For the avoidance of doubt, an independent expert or consultant retained (as opposed to
  employed) by a Party in another litigation would not be precluded under this section.


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              of the notice, or within such other time as the Parties may agree, seeking a protective
              order with respect to the proposed disclosure. The objecting Party shall have the
              burden of proving the need for a protective order. No disclosure shall occur until all
              such objections are resolved by agreement or Court order;

       (f)    independent litigation support services, including persons working for or as court
              reporters, graphics or design services, jury or trial consulting services, and
              photocopy, document imaging, and database services retained by counsel and
              reasonably necessary to assist counsel with the litigation of this Action; and

       (g)    the Court and its personnel.

  6.   A Party shall designate documents, information or material as “CONFIDENTIAL” only

       upon a good faith belief that the documents, information or material contains confidential

       or proprietary information or trade secrets of the Party or a non-party to whom the Party

       reasonably believes it owes an obligation of confidentiality with respect to such documents,

       information or material.

  7.   Documents, information or material produced in this Action, including but not limited to

       Protected Material designated as DESIGNATED MATERIAL, and the existence of the

       information contained in such Protected Material (i) shall be used by the Parties only in the

       prosecution or defense of this Action, (ii) shall not be used for any other purpose, and (iii)

       shall not be disclosed to any person who is not entitled to receive such Protected Material

       as herein provided. All produced Protected Material shall be carefully maintained so as

       to preclude access by persons who are not entitled to receive such Protected Material. Any

       person or entity who obtains access to DESIGNATED MATERIAL or the contents thereof

       pursuant to this Order shall not make any copies, duplicates, extracts, summaries or

       descriptions of such DESIGNATED MATERIAL or any portion thereof except as may be

       reasonably necessary in the litigation of this Action. Any such copies, duplicates, extracts,

       summaries or descriptions shall be classified DESIGNATED MATERIALS and subject to




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        all of the terms and conditions of this Order.

  8.    To the extent a producing Party believes that certain Protected Material qualifying to be

        designated CONFIDENTIAL is so sensitive that its dissemination deserves even further

        limitation, the producing Party may designate such Protected Material “CONFIDENTIAL

        – OUTSIDE ATTORNEYS’ EYES ONLY,” or to the extent such Protected Material

        includes computer source code and/or live data (that is, data as it exists residing in a

        database or databases) (“Source Code Material”), the producing Party may designate such

        Protected Material as “HIGHLY CONFIDENTIAL SOURCE CODE – OUTSIDE

        ATTORNEYS’ EYES ONLY.”

  9.    For Protected Material designated CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES

        ONLY, access to, and disclosure of, such Protected Material shall be limited to individuals

        listed in paragraphs 5(a-b) and (e-g).

  10.   For Protected Material designated HIGHLY CONFIDENTIAL SOURCE CODE –

        OUTSIDE ATTORNEYS’ EYES ONLY, the following additional restrictions apply:

        (a)    Access to a Party’s Source Code Material shall be provided only on “stand-alone”
               computer(s) (that is, the computer may not be linked to any network, including a
               local area network (“LAN”), an intranet or the Internet) (“stand-alone computer”).
               The stand-alone computer shall have disk encryption and be password protected.
               Use or possession of any input/output device (e.g., USB memory stick, mobile
               phone or tablet, camera or any camera-enabled device, CD, floppy disk, portable
               hard drive, laptop, or any device that can access the Internet or any other network
               or external system, etc.) is prohibited while accessing the stand-alone computer.
               All persons entering the locked room containing the stand-alone computer must
               agree to submit to reasonable security measures to ensure they are not carrying any
               prohibited items before they will be given access to the stand-alone computer.
               Unless otherwise agreed to in writing by the parties, the stand-alone computer may
               only be located at the offices of the producing Party’s outside counsel. The
               producing Party may periodically “check in” on the activities of the receiving
               Party’s representatives during any source code review and may visually monitor
               the activities of the receiving Party’s representatives in which the stand-alone
               computer is located but only to ensure that no unauthorized electronic records of
               the Source Code Material and no unauthorized information concerning the Source



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                 Code Material are being created or transmitted in any way. The producing Party
                 shall install tools that are sufficient for viewing and searching the code produced,
                 on the platform produced, if such tools exist and are presently used in the ordinary
                 course of the producing Party’s business. The receiving Party’s outside counsel
                 and/or experts may request that commercially available software tools for viewing
                 and searching the Source Code Material be installed on the stand-alone computer,
                 provided, however, that (a) the receiving Party possesses an appropriate license to
                 such software tools; and (b) such software tools are reasonably necessary for the
                 receiving Party to perform its review of the Source Code Material consistent with
                 all of the protections herein. The receiving Party must provide the producing Party
                 with the CD or DVD containing such licensed software tool(s) at least fourteen
                 (14) days in advance of the date upon which the receiving Party wishes to have the
                 additional software tools available for use on the stand-alone computer. The
                 receiving Party’s outside counsel and/or experts shall be entitled to take notes
                 relating to the Source Code Material but may not copy the Source Code Material
                 into the notes and may not take such notes electronically on the stand-alone
                 computer itself or any other computer;

         (b)     The receiving Party shall make reasonable efforts to restrict its requests for such
                 access to the stand-alone computer(s) to normal business hours, which for purposes
                 of this paragraph shall be 8:00 a.m. through 6:00 p.m. However, upon reasonable
                 notice from the receiving party, the producing Party shall make reasonable efforts to
                 accommodate the receiving Party’s request for access to the stand-alone computer(s)
                 outside of normal business hours. The Parties agree to cooperate in good faith such
                 that maintaining the producing Party’s Source Code Material at the offices of its
                 outside counsel shall not unreasonably hinder the receiving Party’s ability to
                 efficiently and effectively conduct the prosecution or defense of this Action;

         (c)     The producing Party shall provide the receiving Party with information explaining
                 how to start, log on to, and operate the stand-alone computer(s) in order to access the
                 produced Source Code Material on the stand-alone computer(s);

         (d)     The producing Party will produce Source Code Material in computer searchable
                 format on the stand-alone computer(s) as described above;

         (e)     Access to Protected Material designated HIGHLY CONFIDENTIAL
                 SOURCE CODE – OUTSIDE ATTORNEYS’ EYES ONLY shall be limited to
                 outside counsel and up to three (3) outside consultants or experts4 (i.e., not existing
                 employees or affiliates of a Party or an affiliate of a Party) retained for the purpose
                 of this litigation and approved to access such Protected Materials pursuant to
                 paragraph 5(e) above;
  4
   For the purposes of this paragraph, an outside consultant or expert is defined to include the outside
  consultant’s or expert’s direct reports and other support personnel, such that the disclosure to a
  consultant or expert who employs others within his or her firm to help in his or her analysis shall
  count as a disclosure to a single consultant or expert.


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         (f)     To the extent portions of Source Code Material are quoted in an electronic
                 copy or image of a document which, pursuant to the Court’s rules, procedures, or
                 order, must be filed or served electronically (“Source Code Document”), either (1)
                 the entire Source Code Document will be stamped and treated as HIGHLY
                 CONFIDENTIAL SOURCE CODE – OUTSIDE ATTORNEYS’ EYES ONLY or
                 (2) those pages containing quoted Source Code Material will be separately
                 stamped and treated as HIGHLY CONFIDENTIAL SOURCE CODE – OUTSIDE
                 ATTORNEYS’ EYES ONLY;

         (g)     Except as set forth in this or other paragraphs, no electronic copies or images of
                 Source Code Material shall be made without prior written consent of the producing
                 Party, except as necessary to create documents which, pursuant to the Court’s rules,
                 procedures and order, must be filed or served electronically. A receiving Party
                 may include excerpts of Source Code Material in a pleading, exhibit, expert report,
                 discovery document, deposition transcript, or other Court document, provided that
                 the Source Code Documents are appropriately marked under this Order, restricted
                 to those who are entitled to have access to them as specified herein, and, if filed
                 with the Court, filed under seal in accordance with the Court’s rules, procedures
                 and orders. The receiving Party may create an electronic copy or image of limited
                 excerpts of Source Code Material only to the extent necessary to create Source
                 Code Documents, or any drafts 5 of these documents. The receiving Party shall
                 only include such excerpts as are reasonably necessary for the purposes for which
                 such part of the Source Code Material is used. Images or copies of Source Code
                 Material shall not be included in correspondence between the parties (references
                 to production numbers shall be used instead) and shall be omitted from other
                 papers except to the extent permitted herein. The receiving Party may create an
                 electronic image of a selected portion of the Source Code Material only when the
                 electronic file containing such image has been encrypted using commercially
                 reasonable encryption software including password protection.                   The
                 communication and/or disclosure of electronic files containing any portion of
                 Source Code Material shall at all times be limited to individuals who are
                 authorized to see Source Code Material under the provisions of this Protective
                 Order.     Additionally, all electronic copies must be labeled “HIGHLY
                 CONFIDENTIAL SOURCE CODE – OUTSIDE ATTORNEYS’ EYES ONLY.”
                 If Source Code Documents are filed with the Court, they must be filed under seal
                 in accordance with the Court’s rules, procedures and orders;

         (h)     No copies of all or any portion of the Source Code Material may leave the room
                 in which the Source Code Material is inspected except as otherwise provided
                 herein. Further, no other written or electronic record of the Source Code Material
                 is permitted except as otherwise provided herein. The producing Party shall make
                 available a laser printer with commercially reasonable printing speeds for on-site
  5
   Drafts shall only include those excerpts the receiving Party believes will be included in the final
  version.


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             printing during inspection of the Source Code Material. The receiving Party may
             print limited portions of the Source Code Material as necessary to prepare court
             filings or pleadings or other papers (including a testifying expert’s expert report).
             Any printed portion that consists of more than fifteen (15) pages of a continuous
             block of Source Code Material shall be presumed to be excessive, and the burden
             shall be on the receiving Party to demonstrate the need for such a printed copy.
             The receiving Party may print out no more than 150 pages total. The receiving
             Party shall not print Source Code Material in order to review blocks of Source
             Code Material elsewhere in the first instance. Upon printing any such portions of
             Source Code Material, the printed pages shall be collected by the producing Party.
             The producing Party shall Bates number, copy, and label “HIGHLY
             CONFIDENTIAL SOURCE CODE – OUTSIDE ATTORNEYS’ EYES ONLY”
             any pages printed by the receiving Party. Within ten (10) days, the producing Party
             shall either (i) provide one copy set of such pages to the receiving Party or (ii)
             inform the requesting Party that it objects that the printed portions are excessive
             and/or not done for a permitted purpose. If, after meeting and conferring, the
             producing Party and the receiving Party cannot resolve the objection, the receiving
             Party shall be entitled to seek a Court resolution of whether the printed Source Code
             Material in question was printed for a permitted purpose. The printed pages shall
             constitute part of the Source Code Material produced by the producing Party in this
             action. The receiving Party’s outside counsel of record may make no more that
             three (3) additional paper copies of any portions of the Source Code Material
             received from a producing Party, not including copies attached to court filings or
             used at depositions. Even if within the limits described, the producing Party may
             challenge the amount of source code requested in hard copy form, or whether the
             source code requested in hard copy form is reasonably necessary to any case
             preparation activity, pursuant to the dispute resolution procedure and timeframes
             set forth in Paragraph 20 whereby the producing Party is the “requesting Party”
             and the receiving Party is the “designating Party” for purposes of dispute
             resolution. Printouts of contested Source Code Material do not need to be
             produced to the receiving Party until the matter is resolved by the Court;

       (i)   If the receiving Party’s outside counsel, consultants, or experts obtain Source Code
             Printouts, the receiving Party shall ensure that such outside counsel, consultants,
             or experts keep the Source Code Printouts under their direct control in a secured
             locked area in the offices of such outside counsel, consultants, or expert. The
             receiving Party may also temporarily keep the Source Code Printouts at: (i) the Court
             for any proceedings(s) relating to the Source Code Material, for the dates
             associated with the proceeding(s); (ii) the sites where any deposition(s) relating to
             the Source Code Material are taken, for the dates associated with the deposition(s);
             and (iii) any intermediate location reasonably necessary to transport the Source
             Code Printouts to a Court proceeding or deposition; and

       (j)   A producing Party’s Source Code Material may only be transported by the receiving
             Party at the direction of a person authorized under paragraph 10(e) above to another
             person authorized under paragraph 10(e) above on paper via hand carry, Federal


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              Express or through a courier. Source Code Material may not be transported or
              transmitted electronically over a network of any kind, including a LAN, an
              intranet, or the Internet, except that Source Code Material may only be transported
              electronically as is reasonably necessary for filing any documents with the Court
              that contain Source Code Material with the Court or serving such Source Code
              Material on another Party.

        (k)   The receiving Party’s outside counsel and/or expert [authorized under 5(e)] shall
              be entitled to take notes relating to the Source Code Material but may not copy the
              Source Code Material into the notes, unless it is necessary to do so and only to the
              extent those notes contain source code file names, source code function names
              and/or source code page/line numbers. No copies of all or any portion of the
              Source Code Material may leave the room in which the Source Code Material is
              inspected except as otherwise provided herein. Further, no other written or
              electronic record of the Source Code Material is permitted except as otherwise
              provided herein. No notes shall be left behind at the site where the stand-alone
              computer is made available, and any such notes shall be deleted or destroyed by
              the producing Party, without reviewing the substance of the notes, upon discovery.
              Notwithstanding the foregoing, any such notes shall be stamped and treated as
              “HIGHLY CONFIDENTIAL SOURCE CODE – OUTSIDE ATTORNEYS’
              EYES ONLY.”

        (l)   A list of names of persons who will review Source Code Material on the stand-
              alone computer will be provided to the producing Party in conjunction with any
              written (including email) notice requesting inspection. Prior to the first inspection
              of any Source Code Material on the stand-alone computer, the receiving Party shall
              provide twenty (20) business days’ notice to schedule the initial inspection with
              the producing Party. The receiving Party shall provide ten (10) business days’
              notice in advance of scheduling any additional inspections. Such notice shall
              include the names and titles for every individual from the receiving Party who will
              attend the inspection. The producing Party may maintain a daily log of the names
              of persons who enter the locked room to view the source code and when they enter
              and depart;

        (m)   The receiving Party’s outside counsel shall maintain a log of all copies of the
              Source Code Printouts (received from a producing Party) that are delivered by the
              producing Party to any person and a log of any electronic images of Source Code
              Material. The log shall include the names of the recipients and reviewers of copies
              and locations where the Source Code Printouts are stored. Upon request by the
              producing Party, the receiving Party shall provide reasonable assurances and/or
              descriptions of the security measures employed by the receiving Party and/or
              person that receives any Source Code Printouts or portion thereof; and

        (n)   All copies of any portion of the Source Code Printouts in whatever form shall be
              securely destroyed if the Receiving Party no longer contemplates using the Source
              Code Printouts. Copies of Source Code Printouts that are marked as deposition



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               exhibits shall not be provided to the Court Reporter or attached to deposition
               transcripts; rather, the deposition record will identify the exhibit by its production
               numbers.

  11.   Absent written consent from the producing Party, any individual attorney representing

        Plaintiff who reviews items of a technical subject matter, that is designated

        CONFIDENTIAL – O U T S I D E ATTORNEYS’ EYES ONLY and/or HIGHLY

        CONFIDENTIAL SOURCE CODE – OUTSIDE ATTORNEYS’ EYES ONLY under this

        Order shall not prepare, prosecute, supervise, or assist or participate in any way in: (1) the

        preparation or prosecution of any patent application related to the functionality, operation,

        and design of electronic devices with the following functionalities: voice dialing, call

        blocking, camera(s) and image processing, remote control via a wireless electronic device

        or electronic mail on behalf of the Plaintiff or its acquirer, successor, predecessor, or other

        affiliate during the pendency of this Action and for one year after its conclusion, including

        any appeals, or (2) the amending of any claim in any patent asserted in this Action or the

        drafting of any claim to be added (via substitution or otherwise) to any patent asserted in

        this Action in any patent reexamination proceeding, patent reissue proceeding, inter partes

        review proceeding, post-grant review proceeding, or covered business method review

        proceeding (individually, each is a “Restricted Proceeding” and collectively, all are

        “Restricted Proceedings”). For purposes of this Paragraph, “prosecution” includes the

        preparation or amendment of claims or advice or counseling regarding the preparation of

        claims or amendment of claims in any patent application or patent, as part of an original

        prosecution in the United States or elsewhere. This Prosecution Bar shall begin when the

        review of items of a technical subject matter, that is designated CONFIDENTIAL –

        O U T S I D E ATTORNEYS’            EYES       ONLY     and/or HIGHLY CONFIDENTIAL




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        SOURCE CODE – OUTSIDE ATTORNEYS’ EYES ONLY by the affected individual

        first begins and shall continue for a period of time that shall be the longer of either: (i) two

        years from the first disclosure of any items of a technical subject matter, that is designated

        CONFIDENTIAL – O U T S I D E ATTORNEYS’                     EYES     ONLY and/or HIGHLY

        CONFIDENTIAL SOURCE CODE – OUTSIDE ATTORNEYS’ EYES ONLY to the

        individual; and (ii) one year after final termination of the Action, including any appeals

        thereof, and all Protected Material has either been returned or destroyed as required by

        Paragraph 25. To ensure compliance with the purpose of this provision, Plaintiff shall create

        an “Ethical Wall” between such attorneys that review items of a technical subject matter,

        that is designated CONFIDENTIAL – O U T S I D E ATTORNEYS’ EYES ONLY

        and/or HIGHLY CONFIDENTIAL SOURCE CODE – OUTSIDE ATTORNEYS’ EYES

        ONLY and any individuals who, on behalf of Plaintiff or its acquirer, successor,

        predecessor, or other affiliate, prepare, prosecute, supervise or assist in the preparation or

        prosecution of any patent application or who will participate or is participating in amending

        any claim of or adding any claim to a patent in a Restricted Proceeding, relating to any

        technology at issue in the Action. Notwithstanding the foregoing, nothing in this Paragraph

        shall prevent such attorney(s) as counsel of record for Plaintiff from providing advice to

        Plaintiff pursuant to paragraph 35 of this Order or from actively participating (other than

        as set forth above) in any Restricted Proceeding concerning a patent asserted in this Action,

        including any challenge to the validity of any patent, and these prohibitions are not intended

        to and shall not preclude counsel for Plaintiff from participating in Restricted Proceedings

        to discuss the scope and content of prior art with prosecution counsel.

  12.   Absent written consent from the producing Party, any individual attorney representing




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        Plaintiff who reviews items of a technical subject matter, that is designated

        CONFIDENTIAL          –   OUTSIDE       ATTORNEYS’          EYES     ONLY      or   HIGHLY

        CONFIDENTIAL SOURCE CODE – OUTSIDE ATTORNEYS’ EYES ONLY under this

        Order shall not advise clients as to which patents to acquire from an unrelated third party

        (i.e., a party over which the client does not have control at the time the advice is given) to

        assert against the producing Party to the extent such patents are related to the functionality,

        operation, and design of electronic devices with the following functionalities: voice

        dialing, call blocking, camera(s) and image processing, remote control via a wireless

        electronic device or electronic mail, but the affected individual may advise on legal matters

        that involve such patents not directly related to the producing Party. This Acquisition Bar

        shall begin when such DESIGNATED MATERIAL is first received by the affected

        individual and shall end one (1) year after final termination of the Action, including any

        appeals thereof, and all Protected Material has either been returned or destroyed as

        required by Paragraph 25. This bar shall not prohibit counsel to advise regarding the

        validity of such patents, and does not apply to settlement negotiations of litigation.

        Nothing in this paragraph shall prevent such attorney from representing a client that owns

        or has rights to assert a patent(s) or other intellectual property rights against any producing

        Party.

  13.   Protected Material must be stored and maintained by a receiving Party at a location in the

        United States and in a secure manner that ensures access is limited to the person(s)

        authorized under this Order. Each party receiving Protected Material shall comply with

        applicable U.S. Export Administration regulations found at 15 C.F.R. § 730 et seq. To

        ensure such compliance, Protected Material may not be exported outside the United States




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         or released to any foreign national (even if within the United States).

  14.    Nothing in this Order shall require production of documents, information or other material

         that a Party contends is protected from disclosure by the attorney-client privilege, the work

         product doctrine, or other privilege, doctrine, or immunity. If documents, information or

         other material subject to a claim of attorney-client privilege, work product doctrine, or other

         privilege, doctrine, or immunity is produced pursuant to Federal Rule of Evidence 502(d),

         such production shall in no way prejudice or otherwise constitute a waiver of, or estoppel

         as to, any such privilege, doctrine, or immunity.      Any Party that produces documents,

         information or other material it reasonably believes are protected under the attorney-client

         privilege, work product doctrine, or other privilege, doctrine, or immunity may obtain the

         return of such documents, information or other material by promptly notifying the

         recipient(s) and providing a privilege log for the produced documents, information or other

         material. The receiving Party may move the Court for an order compelling production of

         any produced or disclosed privileged documents, information or other material, but the

         motion shall not assert as a ground for production the fact of the production or disclosure,

         nor shall the motion disclose or otherwise use the content of the produced documents,

         information or other material (beyond any information appearing on the above-referenced

         privilege log) in any way in connection with any such motion. 6         The recipient(s) shall

         gather and return all copies of such documents, information or other material to the

         producing Party, except for any pages containing privileged or otherwise protected markings

         by the recipient(s), which pages shall instead be destroyed and certified as such to the



  6
   Nothing herein is intended to alter any attorney’s obligation to abide by any applicable rules of
  professional responsibility relating to the disclosure of privileged information.


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        producing Party. No use shall be made of such documents, information or other material

        during deposition or at trial, or for any other purpose or in any other manner, nor shall

        such documents, information or other material be shown to anyone except as necessary to

        facilitate the return or destruction of such documents or information. If any such produced

        material has been used in any other document generated in connection with the Action,

        including deposition transcripts, exhibits, and court filings, to the extent reasonably

        possible, the material shall be expunged or destroyed. This Order constitutes a Federal

        Rule of Evidence 502(d) order, establishing that any produced material subject to the

        attorney-client privilege or work product immunity is not a waiver.

  15.   There shall be no disclosure of any DESIGNATED MATERIAL by any person authorized

        to have access thereto to any person who is not authorized for such access under this Order.

        The Parties are hereby ORDERED to safeguard all such documents, information and

        material to protect against disclosure to any unauthorized persons or entities.

  16.   Nothing contained herein shall be construed to prejudice any Party’s right to use any

        DESIGNATED MATERIAL in taking testimony at any deposition or hearing provided that

        the DESIGNATED MATERIAL is only disclosed to a person(s) who is: (i) by virtue of his

        or her employment with the producing Party someone who has access to the

        DESIGNATED MATERIAL, (ii) identified in the DESIGNATED MATERIAL as an

        author, addressee, or copy recipient of such information, (iii) although not identified as an

        author, addressee, or copy recipient of such DESIGNATED MATERIAL, has, in the

        ordinary course of business, seen such DESIGNATED MATERIAL, (iv) a current officer,

        director or employee of the producing Party or a current officer, director or employee of a

        company affiliated with the producing Party; (v) counsel for a Party, including outside




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         counsel and in-house counsel otherwise permitted to receive the DESIGNATED

         MATERIAL in question; (v) an independent contractor, consultant, and/or expert retained

         for the purpose of this litigation and otherwise permitted to receive the DESIGNATED

         MATERIAL in question; (vi) court reporters and videographers; (vii) the Court; or (vii)

         other persons entitled hereunder to access DESIGNATED MATERIAL. DESIGNATED

         MATERIAL shall not be disclosed to any other persons unless prior authorization is

         obtained from counsel representing the producing Party or from the Court.7 A Party shall

         give the other Party(ies) reasonable notice (a minimum of two business days) if they

         reasonably expect a deposition, hearing or other proceeding to include Protected Material

         so that the other Party(ies) can ensure that only authorized individuals are present at those

         proceedings.

  17.    Parties may, at the deposition or hearing or within thirty (30) days after receipt of a

         deposition or hearing transcript, designate the deposition or hearing transcript or any portion

         thereof as “CONFIDENTIAL,” “CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES

         ONLY,” or “HIGHLY CONFIDENTIAL SOURCE CODE – OUTSIDE ATTORNEYS’

         EYES ONLY” pursuant to this Order. Access to the deposition or hearing transcript so

         designated shall be limited in accordance with the terms of this Order. Until expiration of

         the 30-day period, the entire deposition or hearing transcript shall be treated as

         “CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY.”


  7
    In the event a non-Party witness is authorized to receive Protected Material that is to be used
  during his/her deposition but is represented by an attorney not authorized under this Order to
  receive such Protected Material, the attorney must provide prior to commencement of the
  deposition an executed Acknowledgement and Agreement to be Bound attached as Appendix A.
  In the event such attorney declines to sign the Acknowledgement prior to the examination, the
  Parties, by their attorneys, shall jointly seek a protective order from the Court prohibiting the
  attorney from disclosing Protected Material in order for the deposition to proceed.


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  18.   Any DESIGNATED MATERIAL that is filed with the Court shall be filed under seal and

        shall remain under seal until further order of the Court. The filing party shall be responsible

        for informing the Clerk of the Court that the filing should be sealed and for placing the

        legend “FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER” above the

        caption and conspicuously on each page of the filing. Exhibits to a filing shall conform

        to the labeling requirements set forth in this Order. If a pretrial pleading filed with the

        Court, or an exhibit thereto, discloses or relies on confidential documents, information or

        material, such confidential portions shall be redacted to the extent necessary and the

        pleading or exhibit filed publicly with the Court.

  19.   The Order applies to pretrial discovery. Nothing in this Order shall be deemed to prevent

        the Parties from introducing any DESIGNATED MATERIAL into evidence at the trial of

        this Action, or from using any information contained in DESIGNATED MATERIAL at

        the trial of this Action, subject to any pretrial order issued by this Court.

  20.   A Party may request in writing to the other Party that the designation given to any

        DESIGNATED MATERIAL be modified or withdrawn.                   If the designating Party does

        not agree to a re-designation within ten (10) days of receipt of the written request, the

        requesting Party may apply to the Court for relief. Upon any such application to the Court,

        the burden shall be on the designating Party to show why its classification is proper. Such

        application shall be treated procedurally as a motion to compel pursuant to Federal Rules

        of Civil Procedure 37, subject to the Rule’s provisions relating to sanctions. In making

        such application, the requirements of the Federal Rules of Civil Procedure and the Local

        Rules of the Court shall be met. Pending the Court’s determination of the application, the

        designation of the designating Party shall be maintained.




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  21.   Each outside consultant or expert to whom DESIGNATED MATERIAL is disclosed in

        accordance with the terms of this Order shall be advised by counsel of the terms of this

        Order, shall be informed that he or she is subject to the terms and conditions of this Order,

        and shall sign an acknowledgment that he or she has received a copy of, has read, and has

        agreed to be bound by this Order. A copy of the acknowledgment form is attached as

        Appendix A.

  22.   The Parties recognize that, during the course of this case, non-Parties may be called upon

        to produce documents, information or other materials that the non-Parties believe should

        be designated as “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’

        EYES ONLY,” or “HIGHLY CONFIDENTIAL SOURCE CODE – ATTORNEYS’

        EYES ONLY.” In such a case, the non-Party who produces such documents, information

        or other materials is considered to be a producing Party, protected under this Order as

        though a signatory to it, and may use the procedures described herein to designate such

        documents, information or other materials as Protected Material. A non-Party’s use of this

        Order to designate Protected Material does not entitle that non-Party to access any other

        Protected Material produced by any Party or other non-Party in this case. Nothing herein

        precludes a non-Party from negotiating additional protections for the production,

        designation or protection of its Protected Materials, beyond those provided in this Order.

  23.   In the event that a Party is required, by a valid discovery request, to produce a non-Party’s

        confidential information in its possession, and the Party is subject to an agreement with the

        non-Party not to produce the non-Party’s confidential information, then the Party shall:

        (a)    Promptly notify in writing the requesting Party and the non-Party that some or all
               of the information requested is subject to a confidentiality agreement with a non-
               Party;




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        (b)     Promptly provide the non-Party with a copy of the Stipulated Protective Order in
                this litigation, the relevant discovery request(s), and a reasonably specific
                description of the information requested; and

        (c)     Make the information requested available for inspection by the non-party.

        If the non-Party fails to object or seek a protective order from this Court within 14 days of

        receiving the notice and accompanying information, the producing Party may produce the

        non-Party’s confidential information responsive to the discovery request. If the non-Party

        timely seeks a protective order, the receiving Party shall not produce any information in its

        possession or control that is subject to the confidentiality agreement with the non-Party

        before a determination by the court. Absent a court order to the contrary, the non-Party

        shall bear the burden and expense of seeking protection in this court of its Protected

        Material.

  24.   If a Party is served with a subpoena issued by a court, arbitral, administrative, or legislative

        body, or with a court order issued in other litigation that compels disclosure of any

        information or items designated in this action as “CONFIDENTIAL,” “CONFIDENTIAL

        – OUTSIDE ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL SOURCE

        CODE – OUTSIDE ATTORNEYS’ EYES ONLY,” that Party must:

        (a)     promptly notify in writing the designating Party. Such notification shall include a
                copy of the subpoena or court order;

        (b)     promptly notify in writing the person who caused the subpoena or order to issue in
                the other litigation that some or all of the material covered by the subpoena or order
                is subject to this Protective Order. Such notification shall include a copy of this
                Protective Order; and

        (c)     not interfere with respect to all reasonable procedures sought to be pursued by the
                designating Party whose Protected Material may be affected. If the designating
                Party timely seeks a protective order, the Party served with the subpoena or court
                order shall not produce any information designated in this action as
                “CONFIDENTIAL,” “CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES
                ONLY” or “HIGHLY CONFIDENTIAL SOURCE CODE – OUTSIDE



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               ATTORNEYS’ EYES ONLY” before a determination by the court from which the
               subpoena or order issued, unless the Party has obtained the designating Party’s
               permission, or is required by court order to do so. The designating Party shall bear
               the burden and expense of seeking protection in that court of its confidential
               material – and nothing in these provisions should be construed as authorizing or
               encouraging a receiving Party in this action to disobey a lawful directive from
               another court.

  25.   Within thirty (30) days of final termination of this Action, including any appeals, all

        DESIGNATED MATERIAL, including all copies, duplicates, abstracts, indexes, summaries,

        descriptions, and excerpts or extracts thereof (excluding excerpts or extracts incorporated

        into any privileged memoranda of the Parties and materials which have been admitted into

        evidence in this Action), shall at the producing Party’s election either be returned to the

        producing Party or be destroyed. The receiving Party shall verify the return or destruction

        by affidavit furnished to the producing Party, upon the producing Party’s request.

  26.   The failure to designate documents, information or material in accordance with this Order

        and the failure to object to a designation at a given time shall not preclude the filing of a

        motion at a later date seeking to impose such designation or challenging the propriety

        thereof. The entry of this Order and/or the production of documents, information and

        material hereunder shall in no way constitute a waiver of any objection to the furnishing

        thereof, all such objections being hereby preserved.

  27.   Any Party knowing or believing that any other party is in violation of or intends to violate

        this Order and has raised the question of violation or potential violation with the opposing

        party and has been unable to resolve the matter by agreement may move the Court for such

        relief as may be appropriate in the circumstances.     Pending disposition of the motion by

        the Court, the Party alleged to be in violation of or intending to violate this Order shall

        discontinue the performance of and/or shall not undertake the further performance of any




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        action alleged to constitute a violation of this Order.

  28.   Production of DESIGNATED MATERIAL by each of the Parties shall not be deemed a

        publication of the documents, information and material (or the contents thereof) produced

        so as to void or make voidable whatever claim the Parties may have as to the proprietary and

        confidential nature of the documents, information or other material or its contents.

  29.   Nothing in this Order shall be construed to affect an abrogation, waiver or limitation of any

        kind on the rights of each of the Parties to assert any applicable discovery or trial privilege.

  30.   Each of the Parties shall also retain the right to file a motion with the Court (a) to modify this

        Order to allow disclosure of DESIGNATED MATERIAL to additional persons or entities

        if reasonably necessary to prepare and present this Action and (b) to apply for additional

        protection of DESIGNATED MATERIAL.

  31.   To the extent that any one party or non-Party in this litigation provides Protected Material

        under the terms of this Protective Order to another Party, the receiving Party shall not

        share that material with the non-Parties, absent express written permission from the

        producing Party. Except as otherwise permitted herein, this Order does not confer any

        right to any one Party (or non-party) to access the Protected Material of any other Party

        (or non-party).

  32.   Notwithstanding the provisions of this Protective Order, no Party shall disclose Protected

        Material of any Party or non-Party to any other non-Party through Court filings, oral

        argument in Court, expert reports, deposition, discovery requests, discovery responses, or

        any other means, without the express prior written consent of the Party or non-Party that

        produced the Protected Material. Any attorney that has appeared in this case and/or is

        served with documents containing Protected Materials filed via the Court’s ECF system is




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        deemed to be authorized to receive such documents and is deemed to be authorized to

        receive documents that are otherwise served in this case. If a Party seeks to disclose

        Protected Material of any non-Party to any other non-Party, then the Party will seek consent

        from the non-Party who produced the Protected Material at issue. The non-Party will then

        have ten (10) business days to respond to the request. The non-Party will not unreasonably

        withhold its consent. If the Party receives no response, then it may proceed with the

        requested disclosure. If objecting to the disclosure, the non-Party shall state the complete

        grounds for the objection. Thereafter, further dispute shall be resolved in accordance with

        the following procedures:

        (a)    The Party shall have the burden of conferring either in person, in writing, or by
               telephone with the objecting non-Party in a good faith effort to resolve the dispute.
               The non-Party shall have the burden of justifying the objection;

        (b)    Failing agreement, the Party may bring a motion to the Court for a ruling that the
               Protected Material in question is entitled to disclosure to any other non-Party. The
               Parties’ entry into this Order shall not preclude or prejudice either Party from
               arguing for or against disclosure of a Protected Material to any other non-Party,
               establish any presumption that a particular objection is valid, or alter the burden of
               proof that would otherwise apply in a dispute over discovery or disclosure of
               information;

        (c)    Notwithstanding any objection to disclosure, the Protected Material in question
               shall not be disclosed to any other non-Party until one of the following occurs: (i)
               the non-Party who produced the Protected Material in question withdraws such
               objection in writing; or (ii) the Court rules that the Protected Material in question
               may be disclosed to other non-Parties.

  33.   This Order shall be binding upon the Parties hereto, their attorneys, and their successors,

        executors, personal representatives, administrators, heirs, legal representatives, assigns,

        subsidiaries, divisions, employees, agents, retained consultants and experts, and any

        persons or organizations over which they have direct control. This paragraph applies only

        to the extent any such person or entity has received Protected Material.




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  34.      The provisions of this Order are not intended to unduly interfere with the Parties’ efficient

           preparation of the case for trial. Some of the provisions represent compromises made by

           the Parties to reach an agreement at an early stage of the litigation when the full extent of

           the Parties’ production under this Order is still unclear. To the extent any Party finds that
  .
           the provisions of this Order are interfering with its efficient preparation of the case for trial

           or that stricter provisions may be necessary for the protection of a Party’s confidential

           information, they can seek modifications form the Court without being prejudiced by

           having agreed to any of the provisions.

        35. Nothing in this Protective Order shall be construed to prevent counsel from advising their

           clients with respect to this case based in whole or in part upon Protected Materials,

           provided counsel does not disclose the Protected Material itself except as provided in this

           Order.
           SIGNED this 3rd day of January, 2012.
           SIGNED this 19th day of December, 2019.




                                                           ____________________________________
                                                           ROY S. PAYNE
                                                           UNITED STATES MAGISTRATE JUDGE




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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION



  CORYDORAS TECHNOLOGIES, LLC                    §
                                                 §
        v.                                       §
                                                             Case No. 2:19-CV-00304-JRG-RSP
                                                 §
  BEST BUY CO., INC. and                         §
  BEST BUY STORES, L.P.                          §


                             APPENDIX A
               ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
        I, ___________________________________________, declare that:

  1.    My address is _________________________________________________________.

        My current employer is _________________________________________________.

        My current occupation is ________________________________________________.

  2.    I have received a copy of the Protective Order in this action. I have carefully read and

        understand the provisions of the Protective Order.

  3.    I will comply with all of the provisions of the Protective Order. I will hold in confidence,

        will not disclose to anyone not qualified under the Protective Order, and will use only for

        purposes of this action any information designated as “CONFIDENTIAL,”

        “CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY,” or “HIGHLY

        CONFIDENTIAL SOURCE CODE – OUTSIDE ATTORNEYS’ EYES ONLY” that is

        disclosed to me.

  4.    Promptly upon termination of these actions, I will return all documents and things

        designated as “CONFIDENTIAL,” “CONFIDENTIAL – OUTSIDE ATTORNEYS’

        EYES ONLY,” or “HIGHLY CONFIDENTIAL SOURCE CODE – OUTSIDE




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        ATTORNEYS’ EYES ONLY” that came into my possession, and all documents and

        things that I have prepared relating thereto, to the outside counsel for the party by whom I

        am employed.

  5.    I hereby submit to the jurisdiction of this Court for the purpose of enforcement of the

        Protective Order in this action.

        I declare under penalty of perjury that the foregoing is true and correct.

  Signature ________________________________________

  Date ____________________________________________




                                                  2
